Case 1:16-cv-02453-JPH-MJD Document 1-2 Filed 09/14/16 Page 1 of 14 PagelD #: 6

INDIANA COMMERCIAL COURT

STATE OF INDIANA ) INTHE MARION CIRCUIT/SUPERIOR COURT
oS )SS: 490011608 CC0 28572
COUNTY OF MARION _ ) CAUSE NO.

 

ALERDING CASTOR HEWITT, LLP,

Plaintiff,

FILED

(69) AUG 04 2016
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NOTICE IDENTIFYING COMMERCIAL COURT DOCKET CASE

vs.

PAUL FLETCHER and CAROLE WOCKNER,

Defendants.

The undersigned states that this case is a Commercial Court Docket Case eligible for

assignment to the Commercial Court Docket pursuant to Rule 2 of the Interim Commercial Court

Rules.

Pursuant to Rule 4 of the Interim Commercial Court Rules, the undersigned requests the

Clerk of Court assign this case to the Commercial Court Docket.

-Respectfully submitted,

a

Michae&J. Wierding, Atty. No. 20002-49
Anthony &.|Roach, Atty. No. 32127-49
Attorneys for Plaintiff Alerding Castor Hewitt, LLP

ALERDING CASTOR HEWITT, LLP
47 S. Pennsylvania St., Suite 700
Indianapolis, IN 46204

Phone: (317) 829-1910

Fax: (317) 423-2089
malerding@alerdingcastor.com
aroach@alerdingcastor.com

EXHIBIT

 
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STATE OF INDIANA 5. IN THE MARION RET EOTAT 285 72

COUNTY OF MARION ) CAUSE NO.

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ALERDING CASTOR HEWITT, LLP,
Plaintiff,
vs.

PAUL FLETCHER and CAROLE WOCKNER,

Defendants.

VERIFIED COMPLAINT FOR BREACH OF CONTRACT, ACTION ON ACCOUNT
AND ACCOUNT STATED, AND UNJUST ENRICHMENT

Plaintiff Alerding Castor Hewitt, LLP (“ACH”), by counsel, states the following as its
VERIFIED COMPLAINT FOR BREACH OF CONTRACT, ACTION ON ACCOUNT AND ACCOUNT STATED,
AND UNJUST ENRICHMENT against Defendants Paul Fletcher (“Fletcher”) and Carole Wockner

(“Wockner”) (collectively “Defendants”):

PARTIES AND JURISDICTION

 

1. ACH is an Indiana limited liability partnership with its principal office at 47 S.
Pennsylvania Street, Suite 700, Indianapolis, Indiana 46204.

2. Fletcher is an adult California resident who, upon information and belief, resides _
at 1203 E. Cota Street, Santa Barbara, CA 93103.

3, Wockner is an adult California resident who, upon information and belief, resides

at 1203 E. Cota Street, Santa Barbara, CA 93103.

4, Jurisdiction over the parties is proper pursuant to Rule 4(A) of the Indiana Rules

of Trial Procedure; venue is proper in this Court pursuant to Rule 75(A) of the Indiana Rule of

Trial Procedure.

 
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FACTUAL BACKGROUND

5. On October 21, 2012, Defendants completed and submitted an Engagement Letter
(the “Engagement Letter”) to ACH. A true and accurate copy of the Engagement Letter is
attached hereto as Exhibit A and is incorporated herein by reference.

6. ACH agreed to provide legal services for Defendants.

7. ACH provided Defendants with a variety of legal services at the request of
Defendants.

8. ACH has demanded payment for the legal services provided.

9. Defendants have failed to remit payment for the legal services to ACH.

Count I: BREACH OF CONTRACT

 

10. | ACH incorporates the preceding paragraphs as if fully set forth herein.
11. | The Engagement Letter is a valid and enforceable contract between ACH and

Defendants.

12. As a result of Defendants’ failure to pay ACH, Defendants have breached their

agreement with ACH.

13. Asa direct and proximate result of Defendants’ breach of the Engagement Letter,
ACH has been damaged.

14. All conditions precedent to the prosecution of this action have occurred, have

been performed, or have otherwise been excused.
15. ACH declares the full amount payable for all legal services provided to be due.
16. As. of August 2, 2016, ACH is owed from. Defendants at least the sum of One

Hundred Fourteen Thousand One Hundred Sixty-Nine and 47/100 Dollars ($114,169.47) (the

“Damages”).

 

 
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17. | The Damages are immediately due and payable, plus any and all costs and
expenses incurred by ACH in enforcing the Engagement Letter.

18. | ACH has performed its obligations under the Engagement Letter, and Defendants’
breach of the Engagement Letter has not been waived or excused by ACH. Therefore, ACH has
the right to recover the Damages from Defendants.

19. Because ACH’s Damages are ascertainable in accordance with the fixed rules of
evidence and known standards of value, and there has been an unreasonable delay in payment uf
ascertainable amounts, ACH is entitled to an award of prejudgment interest.

WHEREFORE, Plaintiff Alerding Castor Hewitt, LLP, requests that the Court enter
judgment in its favor and against Defendants Paul Fletcher and Carole Wockner, in an amount to
be proven at trial, plus an award of prejudgment interest, and all other just and proper relief.

Count I: ACTION ON ACCOUNT AND ACCOUNT STATED

20. ACH incorporates the preceding paragraphs as if fully set forth herein.

21. On October 21, 2012, Defendants entered into an agreement with ACH for legal
services, for which Defendants have failed to pay ACH.

22. Defendants received the legal services from ACH beginning on or around October
21, 2012.

23. There is currently due and owing ACH from Defendant at least the amount of the
Damages. A copy of the statement issued to Defendants for the legal services (the “Statement”)
is attached hereto as Exhibit B and is incorporated herein by reference.

24. ACH delivered the Statement to Defendants, and Defendants did not object to the

Statement.
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25. Despite ACH’s delivery of the Statement and repeated demands for payment,
Defendants have failed and refused to pay the outstanding balance owed to ACH.

26. Because ACH’s Damages are ascertainable in accordance with the fixed rules of
evidence and known standards of value, and there has been an unreasonable delay in payment of
ascertainable amounts, ACH is entitled to an award of prejudgment interest.

WHEREF ORE, Plaintiff Alerding Castor Hewitt, LLP, requests that the Court enter
judgment in its favor and against Defendanis Paul Fletchci and Carole Wockner, in an amount to
be proven at trial, plus an award of prejudgment interest, and all other just and proper relief.

Count U1: UNJUST ENRICHMENT

27. ACH incorporates the preceding paragraphs as if fully set forth herein.

98. Defendants acknowledged, accepted, and benefitted from the legal services
provided by ACH.

29. Retention of this benefit by Defendants without payment to ACH would be

unjust.

30. Because ACH’s Damages are ascertainable in accordance with the fixed rules of
evidence and known standards of value, and there has been an unreasonable delay in payment of
ascertainablé‘amounts, ACH is entitled to an award of prejudgment interest.

WHEREFORE, Plaintiff Alerding Castor Hewitt, LLP, requests that the Court enter
judgment in its favor and against Defendants Paul Fletcher and Carole Wockner, in an amount to

be proven at trial, plus an award of prejudgment interest, and all other just and proper relief.

 
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VERIFICATION

I SWEAR OR AFFIRM UNDER THE PENALTIES FOR PERJURY THAT THE
FOREGOING FACTUAL REPRESENTATI TRUE AND ACCURATE.

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Michael , Alsrding
Partner, Alerding Castor Hewitt, LLP

Respectfully submitted,

 
  

 

 

rding, Atty, No. 20002-49
Anthony ¥F. Roach, Atty. No. 32127-49
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Case 1:16-cv-02453-JPH-MJD Document 1-2 Filed 09/14/16 Page 7 of 14 PagelID #: 12

47 S. Pennsylvania Street, Suite 700 843 N. State Road 135, Suite A

 

indianapolis, IN 46204 _ Greenwood, IN 48142
, ay Phone: 317-829-1810 Phone: 317-881-3388
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, , . | Email: info@alerdingeastar.com Web: worw.alerdingcaslor.cony
Michael J, Alerding

malerding@alerdingcastor,com
Direct: (317) 829-1913

Fax: (317) 423-2089
October 1, 2012

Carol Wockner and Paul Fletcher
1203 BE. Cota Street
Santa Barbara, CA 93103

Re: Engagement Letter

Dear Ms. Wockner and Mr. Fletcher:

I am pleased that you have contacted me regarding the opportunity for my firm to provide
legal‘ counsel for you and your business. The purpose of this letter is to confirm the terms of

agreement with Alerding Castor Hewitt, LLP.

Billing. Our goal is to deliver to you quality legal services, on schedule, at a reasonable
cost. I will be the attorney at this firm principally responsible for your counsel. The hourly rates
for those responsible for working on this case are as follows:

Michael J. Alerding $350
Scott A. Kreider $275
Stefan Kirk $275
Kevin Newbold (paralogal) $135
Chelsea Emerson (patalegal) $135

From timé to time, other attorneys of my firm may assist us. The rates for other attorneys
in the firm range from $175 per hour to $350 per hour. The hourly rates are subject to review
and may increase at any time. © °

 

Statements. I will send you a statement monthly. These billings. will include
reimbursable expenses, which may include filing fees, travel costs, delivery services, photocopy, i
telephone and fax charges, and research services. Payments on statenients will be drawn against

" your retainer, Disbursements in excess of $300 may be forwarded to you for direct payment.
Disbursement charges may not be current at the time of each billing and may be billed later.
~ Please call me if you have any questions regarding the fees or any particular statement.

Retainer.’ Work will commence on this matter when a retainer in the amount of
$50,000.00 is wired to our firm’s trust account and we are in receipt of a signed copy of this

  

 

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wy alerding castor hewittus

&
Carol Wockner & Paul Fletcher
October 1, 2012 -
Page 2

engagement agreement. The retainer will be deposited in nry firm’s trust account and held on
your behalf. Payments for services will be drawn from the retainer monthly. When the amount
billed against the retainer reaches $30,000, you will wire an additional retainer of $25,000. This
is not a cap on fees, only a retainer agreement. At the conclusion of our legal representation, any
remaining retainer balance, after payment of any remaining fees or expenses, will be returned.

Confidential Information. Be assured that our firm will protect the confidentiality and
privileged status of information about you and your company and will not disclose it to anyone
except as may be required by law consistent with our professional abilities.

From the attorneys at Alerding Castor Hewitt LLP, we sincerely appreciate the
opportunity to work with you. If the terms of this engagement letter are acceptable, please sign
and date in the’space provided below and return the fully signed letter to me via e-mail

attachment (per .pdf scan), or by regular mail.

 

Agreed te and accepted this 2% day of

Carol Wockner

Li

Paul Fletcher

 

 
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EXHIBIT B

 

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SUMMONS

STATE OF INDIANA ) IN THE MARION RAR TBO COURT

 

) SS: 0800028570
COUNTY OF MARION _ ) CAUSE NO. “os
ALERDING CASTOR HEWITT, LLP, )
y
Plaintiff, )
)
vs. )
)
PAUL FLETCHER and CAROLE WOCKNER, _ )
)
Defendants. )
TO DEFENDANT: Paul Fletcher
1203 E. Cota Street
Santa Barbara, CA 93103

You are hereby notified that you have been sued by the person named as Plaintiff and in
the Court indicated above.

The nature of the suit against you is stated in the Complaint, which is attached to this
Summons. It also states the relief sought or the demand made against you by the Plaintiff.

"An answer or other appropriate response in writing to the Complaint must be filed either
by you or your attorriey within twenty (20) days, commencing the day after you receive this
Summons, (or twenty-three [23] days if this Summons was received by mail) or a judgment by
default may be rendered against you for the relief demanded by Plaintiff.

If you have a claim for relief against the Plaintiff arising | from the same transaction or

ee

 

 

occurrence, you must assert it in your written answer. .
Dated__. (Seal)
Clerk AUG 04: 2016
The following manner of service of summons is hereby designated: “Phi, a. Eldridge)
CLEHK OF THE MARION CIRCUIT
XXX Registered or certified mail. —

Service at place of employment, to-wit:
Service on individual (VIA SHERIFF) at above address
Service on agent. (Specify)
Other service. (Specify)

 

 

EXHIBIT

 

 
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ACKNOWLEDGMENT OF SERVICE OF SUMMONS
A copy of the above Summons and a copy of the Complaint attached thereto were received -
by me this day of , 2016.

 

Signature of Defendant

SHERIFF'S RETURN ON SERVICE OF SUMMONS
I hereby certify that I have served this Summons onthe___ day of _

2016.
(1) By delivering a copy of the Summons and a copy of the Complaint to Defendant,

 

(2) By leaving a copy of the Summons and a copy of the Complaint at
, Which is the dwelling place or usual place of abode of

and by mailing a copy of the Summons to Defendant at the above address.
(3) Other Service or Kemarks:

 

 

 

 

 

Sheriff's Costs Sheriff
By:
Deputy
CLERK'S CERTIFICATE OF MAILING
Thereby certify thatonthe _— day of , 2016, I mailed a copy of this
Summons and a copy of the Complaint to Defendant, , by

 

mail, requesting a return receipt, at the address furnished by Plaintiff.

 

 

Clerk

Dated: By:

 

Deputy

RETURN OF SERVICE OF SUMMONS BY MAIL

hereby certify that the attached receipt was received by me showing that the Summons and
a copy of the Complaint mailed to Defendant were accepted by
Defendant onthe __ day of , 2016.

I hereby certify that the attached return receipt was received by me showing that the
Summons and a copy of the Complaint were returned not accepted on the _ day of

2016.

I hereby certify that the attached return receipt was received by me showing that the
Summons and a copy of the Complaint mailed to Defendant
were accepted by on behalf of Defendant on the day of

, 2016.

 

 

 

Clerk

 

Deputy

 

 
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STATE OF INDIANA ) IN THE MARION CIRCUIT/ SUPERIOR COURT
) SS: CAUSE NO. 49D01-1608-CC-028572

COUNTY OF MARION )
ALERDING CASTOR HEWITT, LLP)
Plaintiff,

v.

PAUL FLETCHER and

CAROLE WOCKNER
Defendants.

NOTICE OF AUTOMATIC ENLARGEMENT OF TIME
TO RESPOND TO COMPLAINT
Pursuant to Indiana Trial Rule 6(B)(1) and Marion County Local Rule 49-TR5-203(D),
Defendants Paul Fletcher and Carole Wockner, hereby provide notice to the Court of its
automatic enlargement of time to respond to the Complaint filed by the Plaintiff. In support of
this Notice, FLETCHER and WOCKNER state:
1. Defendants FLETCHER and WOCKNER are legally married and residents of the State
of California.
2. Plaintiffs Complaint was filed August 4, 2016.
3. Plaintiff's Complaint was mailed by USPS First Class mail on August 12, 2016, and
delivered to FLETCHER’S AND WOCKNER’S residence sometime after August 14,
2016.
4. FLETCHER’S and WOCKNER’S response to Plaintiff's Complaint is due no earlier than
September 7, 2016, and the time for responding has not expired. This is FLETCHER’S

and WOCKNER’S first request for an enlargement of time to respond to Plaintiff's

1 EXHIBIT

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Complaint.
5. With this enlargement, F LETCHER’S AND WOCKNER’S response to Plaintiffs
Complaint will be due on or before October 7, 2016.
We affirm, under the penalty of perjury, that the foregoing statements are true.

Dated: September 7, 2016

    
 

 

 

Paul Fletcher Carole Wockner

In Pro Per In Pro Per

1203 E Cota Street 1203 E Cota Street

Santa Barbara, California 93103 Santa Barbara, California 91303
(805) 962-3929 (805) 456-9585

 

 
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CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the foregoing document has been served
thi th day of September, 2016, by depositing a copy of the same in the United States mail,
first class postage prepaid and properly addressed to the following:

Michael Alerding

Alerding Castor Hewitt, LLP

47 S. Pennsylvania Street, Suite 700
Indianapolis, IN 46204 .

 

By: Kathleen Krueger
5840 N. Kenton Ave.
Chicago, IL 60646

 

 
